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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                              Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

            MOTION FOR PROPOSED SENTENCING GUIDELINES

       I, the defendant respectfully move for the Court to direct the United States Pretrial and

Probation Office to prepare a preliminary proposed sentencing guidelines application for each of

the charges I face, so that I can knowingly consider the ramifications of any possible stipulations

that might be proposed for the Joint Pretrial Statement. I would further request that the report

provide what the guidelines would be both with and without Count Two, U.S.C. Section

1512(c)(2) included. A similar request was made in the case of Christopher Ray Grider, 21-cr-

00022-CKK, Document 103, and granted by the Court (Document 104).

       Respectfully submitted to the Court,

                                                      By: William Pope

                                                         /s/


                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas
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                                    Certificate of Service
I certify a copy of this was filed electronically for all parties of record on May 13, 2024.
                                              /s/
                              William Alexander Pope, Pro Se
